42 F.3d 1385
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Aaron HOLSEY, Plaintiff Appellant,v.Richard LANHAM, in his individual and official capacities;Thomas Corcoran, Warden of BrockbridgeCorrectional Facility, Defendants Appellees.
    No. 94-6960.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Oct. 18, 1994.Decided:  Dec. 5, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frank A. Kaufman, Senior District Judge.  (CA-94-1629-K)
      Aaron Holsey, Appellant Pro se.
      D.Md.
      DISMISSED.
      Before HALL and MICHAEL, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court order denying his motion for appointment of counsel and for production and inspection of documents.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This Court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);   Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.  The motion for an injunction is denied.
    
    
      3
      DISMISSED.
    
    